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                   THE UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

ALEXIS KLINAKIS, et al.                  }
                                         }
              Plaintiff,                 }
v.                                       }      Case # 6:22-cv-01756-RBD-RMN
                                         }
ALTUS JOBS, LLC., et al.                 }
                                         }
          Defendants.                    }
___________________________              }


     PLAINTIFFS’ SHORT FORM MOTION TO COMPEL
                    REQUEST FOR EXPEDITED HANDLING1

      Undersigned files this motion seeking entry of an order (i) directing

Defendants to produce documents they had agreed to produce; (ii) overruling

Defendants’ dilatory objections; and (iii) imposing sanctions on Defendants based

on their intentional, dilatory, and stonewalling tactics, which were previously

brought to the Court’s attention during a recent 17 September Case Management

Conference.




1
  Plaintiffs respectfully request that the Court consider handling this motion on an
expedited basis because of the amount of time they have lost getting critical data from the
Defendants by being professional, cooperating with Defense counsel and doing their best
to meet and confer to narrow the scope of the issues to no avail.

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I.    BASIS FOR THIS MOTION.

      Defendants have staunchly obstructed producing critical data pertaining to the

wage and compensation disputes at issue, especially data that support their defenses.

Counsel attended a case management hearing on 17 September because they could

not reach an accord to file a simple joint case management report. As the record

reflects, the undersigned voiced his frustration about Defendants’ penchant for

obstreperous and obstructing tactics, and the Court stated that it would take such

frustrations under consideration once formal discovery is issued and if Defendants

react in a similar manner.

      Exhibit 1 is Plaintiffs’ First Request for Production (the “RFP”). Defendants,

not surprisingly, requested a two-week extension to respond, and once that extension

had elapsed, asked for yet another extension. Exhibit 2 is Defendants’ objections

and response to the RFP, which was served almost sixty days after the RFP was

served to them.

      Although the response speaks for itself, Plaintiffs raise the following issues:

         1) Defendants objected to all 21 requests, and have not
            produced any documents, even in instances where they say
            they would produce some documents notwithstanding the
            objection.

         2) Although the Court was clear during the 17 September
            hearing that discovery was NOT limited to class discovery
            (i.e., all issues were on the table), Defendants chose to
            object on such basis, anyway.



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          3) Defendants know that 85% of its employees would come
             within the ambit of the requests, and yet made a baseless
             objection suggesting that Plaintiffs are seeking
             compensation information about receptionists, secretaries,
             and other administrative staff, which is cavalier given the
             numerous meet and confer conversations between lawyers
             to narrow the scope of discovery.

          4) Lastly, and perhaps most distasteful is Defendants’ failure
             to produce documents they agreed to produce, and yet not
             one shred of paper has been produced since 5 January.

II.    LOCAL RULE 3.01(G) CERTIFICATION.

       Attorneys Kevin K. Ross and Jolynn M. Falto have spoken with Attorney

Jesse Unruh several times (in person, by telephone, and through email exchanges)

since June 2023, seeking some solution to the issues presented in this motion,

making every concession and effort to get documents from Defendants that support

their defenses. While defense counsel has made an authentic effort to work with

the undersigned, we are now in January 2024 with several court deadlines looming,

and yet no data that supports the Defendants’ defenses has been provided to enable

Plaintiffs to understand such defenses – assuming the defenses are real2.



2
  Defendant represented to the Court, during the 17 September hearing, that they intended
to file numerous counterclaims, take numerous depositions, and take other actions that
required a substantial amount of time to complete to support their request that the trial of
this case be delayed to the first quarter of 2025. The time to file these phantom
counterclaims has elapsed, there have been no requests for depositions, and the Defendants
have done nothing in this case other than contrive excuses to not produce critical
documents, including their recent objections to Plaintiff seeking information vis-à-vis third
party subpoenas. Defendants certainly have something to hide, and thus are making every
effort to thwart the progress of discovery.

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      The undersigned has reached out to Mr. Unruh and his colleagues over the

past eight to ten days to discuss various discovery objections (including objections

they made to third party subpoenas for similar information), and still there is no

compromise or resolution that has been offered – Mr. Sharifi simply does not want

to produce any documents to the Plaintiffs. As a result, Plaintiffs are at a loss as to

what else they can reasonably do, without the assistance of this Court, to resolve

these discovery issues that have been going on for months – the meet and confer

process only works if both sides are willing to talk and to talk in good faith, and

there is ample evidence in the Court’s record that the Defendants are inhibiting their

lawyers from making a good faith effort to resolve basic discovery disputes.



      Respectfully submitted,



      By: _________________________________
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                        CERTIFICATE OF SERVICE


      I HEREBY CERTIFY that a true and correct copy of the foregoing was filed

with the Clerk of Court this 30th day of January 2024 by using the Federal Case

Management/Electronic Case Files System (CM/ECF System). Accordingly, a copy

of the foregoing is being served on this day to all attorney(s)/interested parties

identified on the CM/ECF Electronic Service List, via transmission of Notices of

Electronic Filing generated by the CM/ECF System.




      By: _________________________________
            Kevin K. Ross-Andino




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